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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

                                            )      CASE NO: 4:92CR117
UNITED STATES OF AMERICA,                   )
               Plaintiff,                   )            ORDER
                                            )      TO WITHDRAW EXHIBITS
              vs.                           )      OR TO SHOW CAUSE WHY
                                            )      EXHIBITS SHOULD NOT BE
                                            )           DESTROYED
JOHN PERKINS,                               )
          Defendant.                        )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendant shall either

1) withdraw the following exhibits previously submitted in this matter within 15 calendar

days of the date of this order, or 2) show cause why the exhibits should not be destroyed:

              Exhibit number(s): A

              Hearing type(s): Revocation

              Date of hearing(s): 1/22/99

If counsel fails to withdraw these exhibits as directed or to show cause why the exhibits

should not be destroyed, the clerk’s office is directed to destroy the listed exhibits without

further notice to the parties or order from the court.

       IT IS SO ORDERED.

       May 23, 2007.



                                                   s/ Lyle E. Strom
                                                   United States District Judge
